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     R.G., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: I.G. No. 24SC780Supreme Court of Colorado, En banc.January 13, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA686
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      DENIED PETITIONS FOR WRIT OF CERTIORARI
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    